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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

YYZ, LLC,                               )
                                        )
              Plaintiff,                )
                                        )
       v.                               )    Civ. No. 13-cv-136-SLR
                                        )
HEWLETT-PACKARD COMPANY,                )
                                        )
            Defendant.                  )
___________________________________

YYZ, LLC,                               )
                                        )
              Plaintiff,                )
                                        )
       v.                               )    Civ. No. 13-cv-579-SLR
                                        )
ADOBE SYSTEMS, INC.,                    )
                                        )
            Defendant.                  )
___________________________________

YYZ, LLC,                            )
                                     )
           Plaintiff,                )
                                     )
      v.                             )    Civ. No. 13-cv-581-SLR
                                     )
PEGASYSTEMS INC.,                    )
                                     )
           Defendant.                )
YYZ’S BRIEF IN SUPPORT OF ITS OPPOSITION TO DEFENDANTS’ MOTION FOR
  SUMMARY JUDGMENT THAT THE ASSERTED CLAIMS OF THE PATENTS-IN-
 SUIT ARE INVALID UNDER 35 U.S.C. § 101 AND CROSS-MOTION FOR SUMMARY
    JUDGMENT THAT THE CLAIMS ARE NOT INVALID UNDER 35 U.S.C. § 101

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    I.         NATURE AND STAGE OF PROCEEDINGS

          Plaintiff YYZ, LLC (“YYZ”) filed suit against Hewlett-Packard Company (“H-P”),

Adobe Systems, Inc., and Pegasystems, Inc. (“Defendants”) for infringement of U.S Patent Nos.

7,602,749 (“the ‘749 Patent”) and 7,603,764 (“the ‘674 Patent”) (collectively, the “Patents-in-

Suit,” attached as Exhibit A and B, respectively).1 The cases are presently consolidated for

pretrial purposes. Fact discovery has been completed and a claim construction order has been

issued. See D.I. 112, attached as Exhibit C (“Claim Construction Order”).2 On December 23,

2014, H-P informed this Court that it had filed petitions with the USPTO to institute Covered

Business Method Review (hereinafter, “CBM”) for the ’749 and ’674 Patents. D.I. 113. YYZ

has disclosed Wayne M. Schutz as its expert.         The Defendants have disclosed Mr. David

Linthicum as their expert.     See Defendants’ Expert Disclosures, attached as Exhibit J. Per

stipulation of the parties, this Court has vacated the remaining scheduled dates in order to first

hear the Defendants’ Motion for Summary Judgment of Invalidity under 35 U.S.C. § 101.

    II.        SUMMARY OF ARGUMENTS

          1.     Relying on only attorney argument and without any support from one of ordinary

skill in the art, Defendants grossly mischaracterize the asserted patent claims in an effort to cast

the inventions as abstract. Instead of analyzing the claims as a whole, as the Supreme Court’s

decision in Alice Corp. Pty. Ltd. v. CLS Bank Int’l requires, Defendants offer simplistic

shorthand labels of the patent claims, disregard claim limitations, and ignore improvements and

applications of the inventions. According to DDR Holdings, LLC v. Hotels.com, L.P., when

properly construed, the asserted claims cover concrete, innovative computing solutions to



1
  References to exhibits made herein refer to the exhibits attached to the Declaration of James F.
McDonough, III.
2
  Cites to D.I. in this brief refer to the docket in C.A. No 1:13-cv-136-SLR.


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problems arising in today’s complex information technology computer networks. As explained

below, the ‘674 and ‘749 patents disclose.

          2.     None of the asserted claims describes techniques that can be performed in the

human mind and Alice Corp. Pty. Ltd. v. CLS Bank Int’l does not indicate any such standard is

the benchmark to meet for claim to be patent eligible. In short, the inventions are not directed to

abstract ideas and, in any event, the patent claims describe inventive concepts including specific

applications and improvements to technologies critical in enterprise applications and

asynchronous networking environments. Furthermore, there is no risk that the patent claims will

preempt the broad abstract ideas that Defendants use to mischaracterize the inventions, because

the patent claims are far more concrete and specific.

          3.     Lastly, Defendants’ present no competent evidence, such as a declaration from

one of (at least) ordinary skill in the art, to support its factual assertions.     According to

Ultramercial, Inc. v. Hulu, LLC, this alone is reason to deny Defendants’ motion. Even if

Defendants had offered competent evidence from an expert, essentially all the factual issues

underlying the determination of patent eligibility are disputed by YYZ, thereby precluding

summary judgment. Conversely, YYZ’s cross-motion should be granted because Defendants

have provided no competent evidence from an expert that creates a material question of fact that

demonstrates that a reasonable jury could find in their favor.

   III.        STATEMENT OF DISPUTED FACTS AND ADDITIONAL FACTS

          The alleged facts in Defendants’ “Statement of Undisputed Facts,” which are supported

by mere attorney argument and attorney interpretations of the specification, are far from

undisputed.




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       A. Technology Background of the Patents-In-Suit.

       The inventions of the Patents-in-Suit use a very specific set of technologies and invented

a set of solutions to problems that existed in very specific technological environments.

Defendants contend that all asserted claims are directed to the abstract idea of “the collection and

storage of information relating to a business process.” Defendants’ Opening Brief, D.I. 116 at 2.

The “abstract idea” proposed by Defendants is much broader than the asserted claims.

Declaration of Wayne M. Schutz, dated February 27, 2015, at ¶37, attached as Exhibit D

(“Schutz Decl.”). A person of ordinary skill in the art at the time of the priority date seeking to

create an enterprise software solution would have been aware of many combination of many

various solutions involving “the collection and storage of information relating to a business

process” that are not covered by the asserted claims. Schutz Decl., Ex. D, at ¶37.

       A person of ordinary skill would have had a myriad of options for the high-level

architecture of such a system, including several options for, among other things, each of the data

transfer technology, the communication network technology, and the middleware technology.

Schutz Decl., Ex. D, at ¶38. First, the skilled artisan could have used any of several data

transfer technologies, including at least an application-based system, a remote procedure call (or

RPC) system, a large file transfer system, or a message-based system. Schutz Decl., Ex. D, at

¶39. These data transfer technologies each come with certain benefits and disadvantages. Id.

The claims of the patents-in-suit are only directed to message-based systems. Schutz Decl., Ex.

D, at ¶40; see also, e.g., ‘749, Claim 1; Claim Construction Order, Ex. C, at 2 (construction for

“asynchronous messaging environment”).

       Second, even assuming a person of ordinary skill chose to use a message-based system,

further decisions would need to be made regarding the communication network technology.




                                                                                             Page | 3
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Schutz Decl., Ex. D, at ¶40. Specifically, such a person would know that they would have to

choose between using a synchronous message-based communications network technology and an

asynchronous message-based communications network technology. Schutz Decl., Ex. D, at ¶41.

Asynchronous message-based communication networks differ from synchronous message-based

communication networks in that “asynchronous or message based communications permit

loosely coupled connections among and between systems because the end points do not have to

be prepared to receive the data when the message is transmitted” '749 Patent at 1:49-52; Schutz

Decl., Ex. D, at ¶42. Such asynchronous message-based communications networks offer many

advantages. Schutz Decl., Ex. D, at ¶42. For instance, “[l]oosely coupled connections permit

more flexibility in assembling processes” '749 Patent at 1:52:53. Schutz Decl., Ex. D, at ¶43.

There are many other benefits to using asynchronous communications that differentiate it from

other communication styles, including the fact that communicating programs can run at different

times and there are no constraints on application structure. Schutz Decl., Ex. D, at ¶¶43-45.

Asynchronous message-based communications network systems are able to sustain very high

transaction rates because of these two facts, and for this reason are usually chosen for high

volume application systems. Schutz Decl., Ex. D, at ¶46. The claims of the patents-in-suit are

only directed to asynchronous message-based communications networks. Schutz Decl., Ex. D, at

¶47; see also, e.g., ‘749, Claim 1; Claim Construction Order, Ex. C, at 2 (construction for

“asynchronous messaging environment”).

       Despite their benefits and their widening adoption in 2000, asynchronous message-based

communication network technologies nevertheless had problems at the time. Schutz Decl., Ex.

D, at ¶¶47-50. “At any given time, precise information on the progress of the processes is

difficult to obtain– messages may be in transit and not instantly locatable”—this was generally




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referred to as the “Where’s My Message” problem. '749 Patent at 2:6-9; Schutz Decl., Ex. D, at

¶50. Messages could be lost, misplaced or delayed in large networks due to configuration errors,

network failure issues, security settings, repeated program failures, or application coding errors,

among other things. Schutz Decl., Ex. D, at ¶50.

       Assuming a person of ordinary skill chose to use an asynchronous message-based

communications network, further decisions would still need to be made regarding the type of

middleware technology to use in the system. Schutz Decl., Ex. D, at ¶¶51-52. Such a person

would know that several middleware options were available, including at least point-to-point

communications, transaction processing monitors (such as TP monitors), message queuing

middleware (such as MQ Series or TIBCO’s Rendezvous system), database middleware,

application servers, or the use of message brokers. Schutz Decl., Ex. D, at ¶52. The claims of the

patents-in-suit are only directed to asynchronous message-based communications networks

which use a message broker as middleware. Schutz Decl., Ex. D, at ¶53; See, e.g., ‘749, Claim

1; Claim Construction Order, Ex. C, at          2 (construction for “asynchronous messaging

environment”), 4 (construction for “monitoring message”).

       B. Facts Concerning The Inventions of the Patents-in-Suit

       At the outset, the specifications of both patents do not disclose a system directed to

measuring, monitoring and tracking communications in business processes using conventional

and generic computer elements. Declaration of Wayne M. Schutz, dated February 27, 2015, at

¶76, attached as Exhibit D (“Schutz Decl.”). Defendants’ characterization of the inventions is

incorrect for a number of reasons. Id. First, Defendants are incorrect that the asserted claims

“disclose a system directed to measuring, monitoring and tracking communications in business

processes.” Schutz Decl., Ex. D, at ¶77. This characterization is overly broad, and ignores that




                                                                                            Page | 5
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 the patents-in-suit are limited to “enterprise communications and processes in an asynchronous

 messaging environment.” ’749 Patent at 1:8-11; Schutz Decl., Ex. D at ¶47, ¶77. As noted in

 the Patents-in-Suit, communications in an enterprise used to be primarily synchronous, or

 connection oriented, in which a connection is established with prior coordination between

 communication end points with data then being transmitted over the connection. At the time of

 the inventions, enterprise communications were becoming increasingly asynchronous, or

 connectionless, allowing the transmission of data without prior coordination between

 communication end points, such as through "event based" communications which use messages

 to move data instead of large files, which permits more flexibility in assembling and modifying

 enterprise communications. ‘749 Patent at 1:39-48. Although the flexibility of an asynchronous

 messaging based environment is desirable, asynchronous or message based communications can

 be problematic because of their loosely coupled nature; for example messages may be in transit

 and not instantly locatable so their status data is not known, so that an enterprise that uses an

 asynchronous messaging environment for its operations or processes would have problems

 attempting to monitor the operations or processes. ‘749 Patent at 1:49-2:23. Thus, the Patents-

 in-Suit exist in an asynchronous environment and fix problems only existing in asynchronous

 environments. Schutz Decl., Ex. D at ¶77

        Second, the asserted claims do not use “conventional and generic computer elements.”

 Schutz Decl., Ex. D at ¶78. For example, message brokers, which are a required component of

 each independent claim,3 may have existed at the priority date of the Patents-in-Suit, but they



 3
   “Monitoring message” has been construed to mean “[a] message distinct from an original
 message, created by the messaging component of a messaging broker that contains at least part
 of the original message data, where a messaging broker is communication software that performs
 at least message transformation and routing based on information in the message.” See Claim
 Construction Order, Ex. C, at p. 4.


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 were far from being “conventional and generic technology.” Schutz Decl., Ex. D at ¶78. In fact,

 according to two books written by Defendants’ own expert (in 2000 and 2001), message brokers

 were still considered “new technology” in as late as 2001—although they offered “real promise,”

 the existing solutions to the “message brokering problem” had a “lack of standardization” and

 functionality, including a lack of management layer tools resulting in an absence of the “ability

 to monitor message movement through the system.” Schutz Decl., Ex. D at ¶78; Linthicum,

 Enterprise Application Integration, Addison-Wesley Longman, Copyright 2000, at pp. 10, 21,

 120, 293, 309, 316,     attached as Exhibit E (“Linthicum I”); Linthicum, B2B Application

 Integration, e-Business-Enable Your Enterprise, Addison-Wesley Longman, Copyright 2001, at

 pp. 128, 146, 233, 234, 248-249, 257, attached as Exhibit F (“Linthicum II”)

        Defendants also incorrectly assert that the “messaging component” which the asserted

 claims add to the messaging broker is also a “conventional and generic computer element.”

 Defendants’ Opening Brief, D.I. 116 at 4-5; Schutz Decl., Ex. D at ¶79. Defendants provide no

 evidence to support this statement, and even if they had, the statement is wrong for a number of

 reasons. First, this allegation ignores the Court’s claim construction, which states that the

 messaging component4 creates the monitoring message of the claims, which is then sent by the

 messaging broker to the central message repository,5 where the monitoring message data stored

 in “[a] record in the central message repository” that is updated as "monitoring messages

 progress through any given process and/or sub-process." Claim Construction Order, Ex. C at p.




 4
   The monitoring message is “created by the messaging component of a messaging broker that
 contains at least part of the original message data, where a messaging broker is communication
 software that performs at least message transformation and routing based on information in the
 message.” Claim Construction Order, Ex. C, at 4.
 5
   The central message repository is a “[d]atabase for storing monitoring messages from more
 than one process, sub-process, or activity.”


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 6; Schutz Decl., Ex. D, at ¶79 There is nothing “conventional or generic” about this because it

 did not exist at the time. Schutz Decl., Ex. D, at ¶¶ 45, 79.

        Second, the messaging component of the message broker, which is required in each of the

 asserted claims, was a new custom piece of software, and was certainly not something provided

 by IBM. Schutz Decl., Ex. D at ¶79; Deposition of Kenneth Fritz, dated September 2, 2014, pp.

 393-394 and pp. 400-407, attached as Exhibit G) (the “Fritz Deposition”). Defendants argue that

 the “messaging component” is not “novel” because the specification says it can be added to the

 message broker “simply” by “configur[ing] the existing functionality of a message broker to

 enable a copying function,” Defendants’ Opening Brief, D.I. 116 at 5.           However, this is

 incorrect. Schutz Decl., Ex. D at ¶80. Defendants’ allegation is based on Defendants’ counsel’s

 misinterpretation of the text from the specification and misunderstanding of IBM’s message

 broker. Schutz Decl., Ex. D at ¶80-82.

        The “IBM MQ Series messaging broker” referred to in the specification was known as

 MQ Integrator. Schutz Decl., at Ex. D ¶¶81, 82; Fritz Deposition, Ex. G., at 395:5-396:11. MQ

 Integrator allowed customers to add functionality to their message broker by creating custom

 components (created by writing custom source code), which were often referred to as “plug-ins.”

 Schutz Decl., at Ex. D ¶¶65, 81, 82. Once that custom component was created, the developer

 could add the custom component to the available tools in MQ Integrator and the developer could

 use the custom code by adding the custom component to a toolbox that would allow you to use

 that custom component in a message flow. Schutz Decl., at Ex. D ¶¶65, 81, 82. There was not,

 however, any tool in the MQ Integrator toolbox at the priority date of the Patents-in-Suit which a

 customer could drag-and-drop to create a messaging component which would create monitoring

 messages and send those messages from the message broker to a central message repository for




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 storage in a transaction record. Schutz Decl., at Ex. D ¶¶81, 82. Thus, the messaging component

 was new, not conventional, and a key part of the “inventive concept” of the asserted claims.

 Schutz Decl., at Ex. D ¶¶65-67, 81.

        With respect to the “central database repository,” Defendants claim that “the second

 element added by the inventors is a ‘central database repository or database’ used to store the

 copied original message data provided to the database by the monitoring message,” alleging that

 this is not a novel technological advance, and finally concluding that “the ‘central message

 repository or database’ is nothing more than a generic storage element for storing ‘information

 passing through the enterprise.’” Defendants’ Opening Brief, D.I. 116 at 5; Schutz Decl., at Ex.

 D ¶84. Again, this evidentially unsupported conclusion amounts to nothing more than attorney

 argument. Id. Further, this argument ignores the Court’s claim construction, which states that

 the central message repository6 is the location where the monitoring message data stored in “[a]

 record in the central message repository” that is updated as "monitoring messages progress

 through any given process and/or sub-process." Claim Construction Order, Ex. C at p. 6; Schutz

 Decl., Ex. D, at ¶84. The central repository of the Patents-in-Suit, which store monitoring

 messages created by the messaging component of a messaging broker, and stores the data from

 those messages in a transaction record, did not exist in 2000. Schutz Decl., Ex. D, at ¶¶65, 78-

 84.

        Thus, Defendant’s claim that “the patents admit that the applicants did not invent any of

 the computerized elements of the claims”7 is incorrect. Schutz Decl., Ex. D, at ¶¶75-84. And

 while databases were not new, the “central message repository” of the Patents-in-Suit was new.



 6
   The central message repository is a “[d]atabase for storing monitoring messages from more
 than one process, sub-process, or activity.”
 7
   Defendants’ Opening Brief, D.I. 116 at 5.


                                                                                          Page | 9
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 Schutz Decl., Ex. D, at ¶¶78-84. As explained above, Defendants’ own expert repeatedly stated

 that message brokers were still considered “new technology” as late as 2001, recognizing the fact

 that they could not “monitor message movement through” the enterprise. Schutz Decl., Ex. D, at

 ¶¶75-78. And undoubtedly, the messaging component was a newly invented computerized

 element created to fix recognized problems with the then new message brokering technology.

 Schutz Decl., Ex. D, at ¶¶65-67, 79-81. Defendants have misinterpreted the specification’s text,

 which in relevant part states that “IBM’s MQSeries messaging broker provides a component that

 can be configured to perform a copying function for the messages it receives, and so create

 monitoring messages for the messages it receives,”8 to mean that this was out-of-the-box

 functionality. However, both the inventors and Mr. Shutz explain that this is not true. Schutz

 Decl., Ex. D, at ¶¶65-67, 79-82; Fritz Deposition, Ex. G, at 400:3-403:21 (with Mr. Fritz

 referencing the “source code” used to implement the messaging component and stating that he

 did not “agree with [the idea that MQ Integrator “already had this component in it”). In

 conclusion, the patents describe anything but “a generic computer technology to carry out

 business processes.”9

          C. Problems Addressed By the Asserted Claims.

       As noted in Section III.A above, around the priority date of the Patents-in-Suit, message

 brokers were still a newly and rapidly developing middleware technology. Schutz Decl., Ex. D,

 at ¶54; see, also, supra, Section III.A. Very few vendors sold software solutions including

 message brokers, and even fewer sold software solutions that would operate in an asynchronous,

 message-based computer network environment and which also included message broker

 technology. Schutz Decl., Ex. D, at ¶54; see, also, supra, Section III.A. Defendants’ expert, Mr.

 8
     ‘749 Patent, at 3:64-67.
 9
     Defendants’ Opening Brief, D.I. 116 at 6.


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 Linthicum, agrees that message brokers were a new and emerging technology at the time that

 still had many problems, were unstandardized, and were not conventional or generic. Schutz

 Decl., Ex. D, at ¶54; see, also, supra, Section III.A. Mr. Linthicum refers to this fact throughout

 both books he authored during the relevant time period. Schutz Decl., Ex. D, at ¶¶54-55; see,

 also, supra, Section III.A. In fact, in the very late 1990s and early 2000s, message brokers were

 just beginning to be used in enterprise application systems. Schutz Decl., Ex. D, at ¶55. As Mr.

 Lithicum notes, “[a]dministration and management of the [enterprise application system] is

 primarily the responsibility of the management layer of the message broker. Unfortunately, too

 many message brokers [we]re marketed with little or no management.” Linthicum I, Ex. E, at

 309, 316; Schutz Decl., Ex. D, at ¶56

        The “Where's my message” problem was known to those skilled in the art. In fact, this

 problem was recognized by Defendants’ expert, Mr. Linthicum, in as late as 2001. In one of his

 books on the topic of enterprise systems, Mr. Linthicum recognized that whoever solved the

 “Where’s my message” problem would gain the “lion’s share of this growing market”:

                Administration and management of the B2B application integration
        problem domain is primarily the responsibility of the management layer of the
        message broker. Because of the level of the technology’s maturity and the fact
        that several enterprise management tools are on the market, too many message
        brokers are marketed with little or no management.
                B2B application integration solutions require the ability to start and stop
        source and target applications as well as the ability to monitor important statistics,
        such as performance, message integrity, and the general functioning of the entire
        B2B application integration problem domain. Some message broker vendors are
        correctly anticipating the needs of B2B application integration management and
        are creating separate products to address these needs while enabling existing
        enterprise management tools to handle the special needs of B2B application
        integration. These vendors stand to win the lion’s share of this growing market.
        The management layers of message brokers need to support other features,
        including the ability to monitor message movement through the system. These




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        features must include alerts to requeue throughput, alerts to requeue availability,
        and end-to-end performance tracking.
                Although it is too early to predict with certainty, it appears that a new
        generation of management tools built specifically for the B2B application
        integration marketplace is on the horizon. However, until that generation arrives,
        users must either depend on what is bundled with the message broker or create
        their own management infrastructure.

 Linthicum II, Ex. E, at 248-249; Schutz Decl., Ex. D, at ¶69. Thus, even while message brokers

 were becoming more popular in the enterprise systems, they were exacerbating the “Where's my

 Message” problem by failing to provide an “out of the box” management layer for tracking

 messages. Schutz Decl., Ex. D, at ¶57. According to Linthicum, “[t]he management layers of

 message brokers need[ed] to support other features, including the ability to monitor message

 movement through the system.” Linthicum II, Ex. F, p. 249; Schutz Decl., Ex. D, at ¶58. And

 although tools were available on the market from general-purpose management software

 companies, many of these general-purpose management tools, such as “BMC's Patrol and

 Computer Associate's UniCenter, fail[ed] to address the management requirements of [enterprise

 systems], which include the ability to monitor message traffic, message integrity, and the

 coordination of the distribution of messages among target applications.” Linthicum I, Ex. E, at

 309; Schutz Decl., Ex. D, at ¶58.

      A company called Bristol Technology, Inc. was also acutely aware of the “Where’s my

 message” problem. During Mr. Schutz’s time at IBM, he was a primary point of contact

 between Bristol Technology and IBM as Bristol worked to develop eSleuth,10 which was a

 software product designed to work with IBM’s MQSeries message queuing middleware. Schutz

 Decl., Ex. D, at ¶70. As of the priority date of the Patents-in-Suit, Bristol had not thought of

 using IBM’s MQSeries Integrator message broker to solve the “Where’s my message” problem.

 10
   This software package is now owned by H-P as a result of H-P purchasing Bristol Technology,
 Inc. eSleuth is asserted as prior art by Defendants.


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 Schutz Decl., Ex. D, at ¶71. Instead, Bristol’s solution was to modify MQ Series—IBM’s

 message queuing middleware—as opposed to the other middleware technology described above,

 including point-to-point communications, transaction processing monitors, database middleware,

 application servers, or message brokers. Schutz Decl., Ex. D, at ¶71; see, also, supra, Section

 III.B. Bristol’s focus was on an entirely different middleware solution, and was not working on

 making any changes to IBM’s message broker, MQSeries Integrator. Schutz Decl., Ex. D, at

 ¶71. In fact, as the head of the IBM MQSeries consulting team during 2000, Mr. Schutz is

 confident that neither IBM, any IBM partner, nor any IBM customer had implemented the ability

 to monitor and track message movement by creating separate monitoring messages in a message

 broker via a messaging component and then sending those messages to a central message

 repository for storage in a transaction record. Schutz Decl., Ex. D, at ¶71.

     The few solutions that were available from vendors and local be-spoke solutions addressed

 the issue from a technical, not a business, perspective. Schutz Decl., Ex. D, at ¶59. That is to

 say, the offerings from the Systems Management vendors and messaging vendors provided tools

 to inspect the individual elements of the messaging network and did not provide an “end-to-end”

 view. Schutz Decl., Ex. D, at ¶59. As an example, many vendors had tools to detect abnormal

 numbers of messages in queues or failed communication channels between queuing systems.

 Schutz Decl., Ex. D, at ¶59. Although these techniques were useful in “keeping the messages

 flowing”, they had no mechanism to monitor message movement as they passed through the

 enterprise, and as a result, could not identify the business impact of failing components or the

 efficiency of its processes. Schutz Decl., Ex. D, at ¶59.




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         D.
         D The Solutions Provid
                              ded By the Inventions
                                         I          oof the Paten
                                                                nts-in-Suit.

      The patents
          p       descrribe a system
                                   m for “measu
                                              uring, monitooring, trackiing and simuulating enterrprise

 communications and
                  d processes in
                               n an asynchrronous mess aging enviroonment. ‘7449 Patent at 11:7-

 11; Schutz Decl., Ex. D, at ¶60. The Patentts provide a solution to tthe “Where''s My Messaage”

 problem by creating, through thee custom dev
                                            veloped messsaging compponent, and ““send(ing) [,,

 through a message brroker,] a sep
                                 parate monito
                                             oring messagge containinng data . . . [w
                                                                                    which] may

 include date,
         d     time, cu
                      ustomer num
                                mber, materiaals, quantity,, amount or other inform
                                                                                  mation and be

 copied frrom the origiinal messagee.” '749 Pateent at 3:6-14;; Fig. 2; Schhutz Decl., E
                                                                                       Ex. D, at ¶61.

 Furtherm
        more, “The monitoring
                   m          message
                              m       contains, in this embodimennt, specific daata fields . . . .”

 Those daata field are, for examplee:




 '749 Pateent at 4:24-38.11 A skilleed artisan wo
                                                ould have al so understoood that uniquue identifier

 serving as
         a a globally unique iden
                                ntifier would
                                            d have been ppresent in alll monitoringg messages aand

 would bee used to corrrelate each individual
                                   i          monitoring
                                              m          m
                                                         message with other monittoring messaages

 11
   “The first
          f     field, thee PROCESS S IDENTIFIE    ER field, proovides the iddentifier for tthe process, for
 example,, the value ‘O                            t monitoriing message is being creeated within the
                         Order to Cassh’ because the
 Order to Cash Processs. The seco    ond field, thee SUB-PROC   CESS IDEN   NTIFIER fielld, provides the
 identifierr for the sub--process, forr example th
                                                 he value ‘Inqquiry’ becausse the monitooring message is
 being creeated within the Inquiry sub-process. This emboodiment preppopulates theese PROCES            SS
 IDENTIF  FIER and SU    UB-PROCES    SS IDENTIF   FIER fields, with the apppropriate vallues.” ‘749
 Patent at 4:34-44. Taable 1 of '74  49 Patent shoows a numbeer of fields thhat might bee present in tthe
 monitorin ng message. Id. Schutzz Decl., Ex. D,   D at ¶63.


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 related to a specific business process, sub process, or activity in order to insert the data into the

 “transaction record” present in each independent claim of the patents. Schutz Decl., Ex. D, at

 ¶64. This monitoring message is created by the messaging component of a messaging broker

 and is provided by the message broker to the central message repository of the claims. Schutz

 Decl., Ex. D, at ¶65. For example, IBM's MQSeries messaging broker provides a component

 that can be configured to perform a copying function for the message it receives, and so create a

 monitoring message for the messages it receives” '749 Patent at 3:64-67; Schutz Decl., Ex. D, at

 ¶65.

        When the patents disclose the fact that the “messaging broker provides a component that

 can be configured to perform a copying function,” a skilled artisan would understand that the

 patents are referring to the capability that MQSeries Integrator provided to allow developers to

 create custom components that could be created and coded to be used within MQSeries

 Integrator. Schutz Decl., Ex. D, at ¶65. This was often referred to as a “plug-in.” Schutz Decl.,

 Ex. D, at ¶65. This is a similar concept to what companies like Microsoft Corporation provide to

 allow certain companies to add new functionality to Microsoft Word®. Schutz Decl., Ex. D, at

 ¶65. For instance, Adobe Systems, Inc. coded a “plug-in” for Microsoft Word® that allows

 Adobe customers to create PDF files directly from Microsoft Word®. Schutz Decl., Ex. D, at

 ¶65. Similarly, the inventors of the Patents-in-Suit created a custom component “plug-in” that

 creates monitoring messages and stores them in a transaction record in the central message

 repository that is updated as "monitoring messages progress through any given process and/or

 sub-process." ‘749 Patent at 4:56-67; Claim Construction Order, Ex. C, at 6.; Schutz Decl., Ex.

 D, at ¶65. The Patents-in-Suit specify a “central message repository or database” which acts as

 an “‘end point’ for the asynchronous communication” ‘749 Patent at 3:15-18; Schutz Decl., Ex.




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 D, at ¶66.    This “central message repository” contains a transaction record which is populated

 by the monitoring message. ‘749 Patent at 4:56-57; Schutz Decl., Ex. D, at ¶66. The Patents-in-

 Suit specify that “[a]s monitoring messages progress through any given process and/or

 subprocess, the transaction record is updated”. ‘749 Patent at 4:56-59.

        The Patents-in-Suit provide a solution to the problem [e.g., lack of management layer

 capabilities and ability to monitor message movement thorough the system] listed above by:

             Providing a monitoring message created by the messaging component [added
              management layer functionality] of a message broker which contains process and/or
              sub-process identifiers and key data elements from the original message.
             Transmitting said monitoring message to a central message repository and updating a
              transaction record in the central message repository with such data as process and/or
              sub-process identifiers and key data element from the original message, such
              transaction record being updated as monitoring messages progress through any given
              process and/or subprocess as the process progresses.
             Allowing for the monitoring of message movement through the system and capturing
              associated business data.
 Schutz Decl., Ex. D, at ¶67. The system of the asserted claims allows a user to obtain

 “information about any particular order or customer, [including] information about process

 efficiency . . . .” ‘749 Patent at 5:14-19; Schutz Decl., Ex. D, at ¶67. The ability to have a

 central message repository with correlated information about a specific customer request (or

 order) associated with a particular instance of a business process allows the enterprise to

 determine the status of that request (or order). Schutz Decl., Ex. D, at ¶68. If, for some reason,

 a message between processes is lost or misplaced, this fact is reflected in the central database and

 the last successful process or sub-process can be identified. Schutz Decl., Ex. D, at ¶68. In

 addition, because the transaction record is updated with timestamps as processes and sub-

 processes are completed, the processing efficiencies can be determined. Schutz Decl., Ex. D, at

 ¶68.

        The solution of the asserted claims requires the creation of a “messaging component”


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 within the message broker. Schutz Decl., Ex. D, at ¶73. This messaging component creates the

 monitoring message, and sends it to the central message repository, where it is stored in a

 transaction record. Schutz Decl., Ex. D, at ¶73. In Mr. Shutz’s opinion, this was a creative and

 useful improvement on the state of the art at the time. Schutz Decl., Ex. D, at ¶73.

        E. Facts Related to Whether the Asserted Claim Preempt the Alleged Abstract Idea

        The asserted claims do not block the public from practicing a large number of

 communication and enterprise management technologies, which were widely known to be used

 for “the collection and storage of information relating to a business process”12 by those skilled in

 the art. Schutz Decl., Ex. D, at ¶85. For example, many enterprise software systems relied on

 synchronous communications, where a call is made, either to a local program or a remote

 program, and processing does not continue until the called program completes. Schutz Decl.,

 Ex. D, at ¶86. Examples of these technologies include “Distributed Program Link” systems

 (such as IBM's CICS product) and Remote Procedure Call (“RPC”) systems (such as Sun's Open

 Network Computing (ONC) Remote Procedure Call (RPC)). Schutz Decl., Ex. D, at ¶86; see,

 supra, Section III.A. The asserted claims do not prevent anyone from using these synchronous

 communication technologies for “the collection and storage of information relating to a business

 process”. Schutz Decl., Ex. D, at ¶86.

        Another example is Large File Transfer systems. Schutz Decl., Ex. D, at ¶87; see, supra,

 Section III.A. Many systems sent (and still send) large files from one application to another.

 Schutz Decl., Ex. D, at ¶87; see, supra, Section III.A. This is an asynchronous technology which

 does not use messaging, and is thus not covered by the asserted claims but could still be used for

 “the collection and storage of information relating to a business process.” Schutz Decl., Ex. D,

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   YYZ disagrees that the inventions of the Patents-in-Suit are subsumed by Defendants’ alleged
 “abstract idea” and deny that the characterization of the alleged “abstract idea” is accurate.


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 at ¶87. There were hundreds of products available that use this technology, mostly based on the

 File Transfer Protocol (FTP). Schutz Decl., Ex. D, at ¶87. Still other systems could be

 described as “point-to-point” communications technologies. Schutz Decl., Ex. D, at ¶88; see,

 supra, Section III.A. These systems have the ability to use asynchronous message based

 communications technologies, but do not use message brokers. Schutz Decl., Ex. D, at ¶88; see,

 supra, Section III.A. Thus, these could still be used for “the collection and storage of

 information relating to a business process” without practicing the claims of the Patents-in-Suit.

 Schutz Decl., Ex. D, at ¶88. Instead, they implemented business processes by sending messages

 directly from one application to the next. Schutz Decl., Ex. D, at ¶88. When this is done, the

 application must agree, a priori, upon the format of the message to be passed to each other.

 Schutz Decl., Ex. D, at ¶88. In addition, the application generating the message must be able to

 address the message so that it can be delivered to the next application in the business process.

 Schutz Decl., Ex. D, at ¶88.

        Enterprises can choose to implement their business processes using transaction

 Processing Monitors. Schutz Decl., Ex. D, at ¶89. Transaction processing monitors, such as

 IBM's CICS and BEA's Tuxedo, have been used for decades to provide complete solutions to

 business processes. Schutz Decl., Ex. D, at ¶89; see, supra, Section III.A. They would not be

 considered as providing a brokering function however, as data format translation is not a built in

 in function. Schutz Decl., Ex. D, at ¶89. Thus, this technology could still be used for “the

 collection and storage of information relating to a business process” without practicing the

 claimed inventions. Schutz Decl., Ex. D, at ¶89. According to Mr. Linthicum, “Transactional

 middleware is a good fit with EAI because the architecture provides for a centralized server that's

 able to process information from many different resources, such as databases and applications.




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 Moreover, it ensures delivery of information from one application to the next and supports a

 distributed architecture. ” Schutz Decl., Ex. D, at ¶89. “None of the TP monitors or application

 servers that exist [in 2000] support either "out-of-the-box" content transformation or message

 transformation services, at least not without a lot of programming. Schutz Decl., Ex. D, at ¶89.

        Like transaction processing monitors, application servers provide the ability for

 enterprises to provide complete solutions to business problems. Schutz Decl., Ex. D, at ¶90; see,

 supra, Section III.A. Application Servers tend to be associated with web based system, and

 often are integrated with TP monitors to provide transactional capabilities. Schutz Decl., Ex. D,

 at ¶90. “Although application servers were created for Web-based transactions and application

 development, their usefulness to EAI is obvious, given their back-end integration capabilities.”

 Schutz Decl., Ex. D, at ¶90.

        Finally, even message brokers can be used in Enterprise Application Integration without

 creating monitoring messages and sending those messages to a central message repository as

 required by the asserted claims, and used in this way, could still be used for “the collection and

 storage of information relating to a business process” without practicing the claimed inventions.

 Schutz Decl., Ex. D, at ¶91. The stated intent of message brokers (specifically IBM's Integrator)

 was to transform and route messages, not to provide a management layer. Schutz Decl., Ex. D, at

 ¶91. According, using the technologies in the ways described above, there are hundreds of ways

 that the technologies available in 2000 could have been used for “the collection and storage of

 information relating to a business process” without practicing the claimed inventions. Schutz

 Decl., Ex. D, at ¶91. Thus, the very specific use of the technologies specified in the claims does

 not monopolize an alleged abstract idea described as “the collection and storage of information

 relating to a business process.” Schutz Decl., Ex. D, at ¶91.




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        F. Facts Related to the Alleged Representative Claim and Other Asserted Claims

        Defendants argue that “Claim 1 of the ‘749 Patent is representative of the other asserted

 independent claims” and produced the claim language for the Court. Defendants’ Opening Brief,

 D.I. 116 at 6. YYZ disagrees with this proposition. However, even assuming that Claim 1 of the

 ‘749 is actually “representative,” Defendants’ presentation of the claim absent the claim

 constructions that apply present an incomplete picture of the relevant claim. ‘749 Patent, Claim

 1; Claim Construction Order, Ex. C; see also, Asserted Claims With Claim Constructions

 Inserted, attached as Appendix A (outlining the true scope and limitations of each claim). As

 noted above in Sections III.A-E, Claim 1 of the ‘749 Patent, when properly construed pursuant to

 the Court’s constructions, and in light of the technological explanations above in Sections III.A-

 E, provide for something considerably more precise than “saving data related to a business

 process in a database.” The other asserted claims of the Patents-in-Suit add significant features

 and details to the technology claimed in Claim 1 of the ‘749, none of which are “trivial” or

 “generic and conventional.”13 See, supra, Sections III.A-E; see also, Appendix A.

        G. Related Proceedings Involving The Alleged Joint Defense Group Leader

        According to H-P’s counsel, it is the lead counsel for the Defendants’ joint defense

 group. On December 23, 2014, H-P informed this Court that it had filed CBM petitions with the


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    For example, Claim 2 of the ’749 patent adds concrete step of “reviewing data collected” in
 the transaction record. Claim 22 of the ’749 patent requires monitoring two sub-processes.
 Claim 27 of the ’749 patent adds the concrete step of “reviewing said central message
 repository.” Claim 55 of the ’749 patent requires that the original message data comprise the
 status of a “process.” Similarly, Claim 1 of the ’674 patent requires that the original message
 data comprise the status of an “activity,” “sub process,” or “process,” and adds the limitation of
 “retrieving information from the central message repository.” Claim 46 of the ’674 patent
 requires “distributing information from the central message repository using a real-time tool
 which tracks the progress of transaction records and/or processes.” Claim 51 of the ’674 patent
 includes the limitation of “reviewing data collected” in the transaction record and requires that
 the original message data comprises status information of a “process and/or sub process.” Claim
 70 of the ’674 patent requires that two activities be monitored.


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 USPTO for the ’749 and ’674 Patents. D.I. 113. The petitions were attached as Exhibits A and

 B to the notification. Id. Notably, the petition was filed without the associated exhibits. D.I.

 113-1. In the petitions, H-P seeks review of the claims asserted against it by YYZ on several

 grounds, including unpatentable subject matter under 35 U.S.C. § 101. Id. at pp. 29-39 (’794

 Patent) and pp. 117-126 (’674 Patent). In support of its unpatentable subject matter argument,

 H-P cites to the expert declaration of Mr. Jacobsen. Id. at p. 38 (’794 Patent) and p. 125 (’674

 Patent). Notably, while joint defense group leader H-P chose to file an expert declaration on §

 101 in the petition, Defendants neglected to file an expert declaration here. Thus, Defendants

 have acknowledged that expert testimony is important to the § 101 analysis, yet chose to proceed

 without such testimony here.

        H-P is also currently defending the validity of some of its own patents in an unrelated

 litigation. In the matter of Hewlett-Packard Company v. ServiceNow, Inc., Case No. 5:14-cv-

 00570-BL pending in the Northern District of California (hereinafter, the “ServiceNow case”),

 H-P faces a motion for summary judgment of invalidity under 35 U.S.C. § 101. In a brief filed

 on January 14, 2015, H-P lays out its arguments for why four of its own patents should not be

 invalidated under 35 U.S.C. § 101. See Case No. 5:14-cv-00570-BL, D.I. 79, attached as Exhibit

 H (“H-P’s ServiceNow Brief”). In that briefing, H-P consistently characterizes the law to the

 Northern District of California in a way that directly contradicts the positions taken in

 Defendants’ Opening Brief before this Court.14        Additionally, H-P filed a 60-page expert



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   The extensive nature with which this is done is impossible to articulate without overwhelming
 the brief at hand. See, H-P’s ServiceNow Brief, Ex. H, at p. 2 (“In determining whether claims
 are directed to patent-eligible subject matter, the Supreme Court has long emphasized ‘the
 general rule that patent claims must be considered as a whole.’”), 3(“A characterization of the
 patent claims that omits limitations or steps, or seeks to recast the actual language of the claim,
 should be rejected for purposes of a § 101 analysis;” “Importantly, nothing in Alice suggests that
 the use of a computer or computer-related concepts in a patent claim transforms the subject


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 declaration to support its ServiceNow Brief. See Case No. 5:14-cv-00570-BL, D.I. 79, attached

 as Exhibit H (“Menascé Declaration”). Undoubtedly, the Defendants’ believe expert testimony

 on technical evidence is vital to the § 101 analysis. See H-P’s ServiceNow Brief, Ex. H, at 6

 (citing Invitrogen Corp. v. Clontech Labs., Inc., 429 F.3d 1052, 1068 (Fed. Cir. 2005) and

 arguing that “[u]nsubstantiated attorney argument regarding the meaning of technical evidence is

 no substitute for competent, substantiated expert testimony. It does not, and cannot, support [a

 party’s] burden on summary judgment.”).

    IV.      ARGUMENT

          A. The Patents-in-Suit Are Presumed Valid.

          The Patents-in-Suit carry with them a presumption of validity. Despite a suggestion by

 Defendants to the contrary, when the validity of an issued patent is challenged under §101, the

 presumption that the patent is valid remains and the party challenging validity still bears the

 heavy burden of overcoming this presumption by clear and convincing evidence. 35 U.S.C. §

 282(a)15; Microsoft Corp. v. i4i Ltd. Partnership, 131 S.Ct. 2238, 2242-2243, 2245, 180 L.Ed.2d

 131 (2011) (“The burden to prove a patent invalid falls to the alleged infringer, who ‘bears a

 heavy burden of persuasion.’”) (quoting Justice Cardozo’s opinion in Radio Corp. of America v.

 Radio Engineering Laboratories, Inc., 293 U.S. 1 at 8 (1934)); Allergan, Inc. v. Apotex Inc., 754

 F.3d 952, 958 (Fed. Cir. 2014); cert. denied, 2015 WL 132989, 83 U.S.L.W. 3270 (U.S. Jan. 12,



 matter into something abstract and patent ineligible.”), 4 (“Alice also does not hold or suggest
 that a claim is abstract if the process can be performed by a human.”), 5 (“Therefore, where
 patent claims are directed to a particular technological improvement in a particular field, and do
 not attempt to cover the field itself, there is no risk of preemption.”)
 15
    35 U.S.C. § 282(a) In General.-A patent shall be presumed valid. Each claim of a patent
 (whether in independent, dependent, or multiple dependent form) shall be presumed valid
 independently of the validity of other claims; dependent or multiple dependent claims shall be
 presumed valid even though dependent upon an invalid claim. The burden of establishing
 invalidity of a patent or any claim thereof shall rest on the party asserting such invalidity.


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 2015) (No. 14-465); Intellectual Ventures I, LLC v. Motorola Mobility, LLC, --- F.Supp.3d ----,

 2014 WL 5468429, *3 (D. Del. Oct. 28, 2014).

        When evaluating a challenge to a patent’s presumed validity, a court must consider the

 entire statutory scheme, which involves determining whether claims are directed to patentable

 subject matter (35 U.S.C. § 101), are novel (35 U.S.C. § 102), are non-obvious (35 U.S.C. §

 103), and are particularly described (35 U.S.C. § 112). Bilski v. Kappos, 130 S.Ct. 3218, 3225

 (2010); Microsoft Corp., 131 S.Ct. at 2242. It is strictly within this statutory framework that the

 Supreme Court stated that the “§ 101 patent-eligibility inquiry is only a threshold test.” Bilski,

 130 S.Ct. at 3225 (emphasis added). Thus, the Patents-in-Suit are presumed valid.

        B. Software and Business Methods Remain Eligible For Patent Protection.

        The Supreme Court and Federal Circuit have made clear that software and business

 methods remain eligible for patent protection and nothing in the Patents-in-Suit exclude them

 from their statutory presumption of validity. Section 101 of the Patent Act broadly defines

 patent-eligible subject matter as “any new and useful process, machine, manufacture, or

 composition of matter, or any new and useful improvement thereof.” While laws of nature,

 physical phenomena, and abstract ideas alone cannot be patented, “[a]pplications of such

 concepts to a new and useful end . . . remain eligible for patent protection.” Alice Corp. Pty. Ltd.

 v. CLS Bank Int’l, 134 S. Ct. 2347, 2354 (2014) (internal citations and quotations omitted).

 Indeed, as long as the patented claims do not preempt the “basic tools of scientific and

 technological work” such that the Progress of Science and useful Arts is undermined, such

 claims are patent eligible. Id.; U. S. Const., Art. I, § 8, Cl. 8. Indeed, the Supreme Court has

 warned against extending this exclusionary evaluation too far such that it would “eviscerate

 patent law,” noting that “all inventions at some level embody, use, reflect, rest upon, or apply




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 laws of nature, natural phenomena, or abstract ideas.” Mayo Collaborative Services v.

 Prometheus Laboratories, Inc., 132 S.Ct. 1289, 1293, 182 L.Ed.2d 321 (2012).

        Although the Supreme Court and Federal Circuit have provided new guidance on

 determining whether something is an unpatentable abstract idea or a patentable application of an

 abstract idea, the exact line between these two remains unclear.16 However, it is clear that

 business method patents are still patent eligible and have not been deemed per se invalid. Bilski,

 130 S.Ct. at 3228-3229 (noting that such a rule would render 35 U.S.C. § 273 superfluous, a

 violation of a canon for statutory interpretation). Moreover, the Federal Circuit has explicitly

 acknowledged that software and business method patents are not excluded under 35 U.S.C. §

 101. See Content Extraction and Transmission LLC v. Wells Fargo Bank, Nat. Ass’n,. --- F.3d --

 --, 2014 WL 7272219, *3 (Fed. Cir. Dec. 23, 2014) (no categorical business-method exception,

 citing Bilski); buySAFE, Inc. v. Google, Inc., , --- F.3d ----, 2014 WL 4337771, *4 (Fed. Cir. Sep.

 3, 2014) (same); Ultramercial, Inc. v. Hulu, LLC, --- F.3d ----, 2014 WL 5904902, *4 (Fed. Cir.

 Nov. 14, 2014). (“We acknowledge this reality, and we do not purport to state that all claims in

 all software-based patents will necessarily be directed to an abstract idea. Future cases may turn

 out differently.”). In light of this precedent, the Patents-in-Suit are firmly grounded in patent

 eligible subject matter.




 16
    DDR Holdings, LLC v. Hotels.com, L.P., Case No. 2013–1505, --- F.3d ----, 2014 WL
 6845152, *8 (Fed. Cir. Dec. 5, 2014) (“Distinguishing between claims that recite a patent-
 eligible invention and claims that add too little to a patent-ineligible abstract concept can be
 difficult, as the line separating the two is not always clear.”)


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        C. The Claims of the Patents-in-Suit Are Patent Eligible Within The Framework
           Set Forth By Supreme Court and Federal Circuit.17

        In Alice, the Supreme Court set forth a two-part test to evaluate patent eligibility. In the

 first step, a court must “determine whether the claims at issue are directed to one of those patent

 ineligible concepts,” namely, a law of nature, physical phenomenon, or abstract idea. Alice, 134

 S. Ct. at 2355. If the claim is directed to one of these concepts, then the court must determine

 whether the claim has an “‘inventive concept’ – i.e., an element or combination of elements that

 is sufficient to ensure that the patent in practice amounts to significantly more than a patent upon

 the ineligible concept itself.” Id. (internal citations and quotations omitted).

        In determining whether claims are directed to patent-eligible subject matter, the Supreme

 Court has long emphasized “the general rule that patent claims ‘must be considered as a whole.’”

 Id. at 2355 n.3 (quoting Diamond v. Diehr, 450 U.S. 175, 188 (1981)). That is, it is inappropriate

 to focus on individual claim elements in the § 101 analysis, and it is irrelevant to the issue of

 patent eligibility whether particular elements are themselves novel:

        In determining the eligibility of respondents’ claimed process for patent
        protection under § 101, their claims must be considered as a whole. It is
        inappropriate to dissect the claims into old and new elements and then to ignore
        the presence of the old elements in the analysis. This is particularly true in a
        process claim because a new combination of steps in a process may be patentable
        even though all the constituents of the combination were well known and in
        common use before the combination was made. The “novelty” of any element or
        steps in a process, or even of the process itself, is of no relevance in determining
        whether the subject matter of a claim falls within the § 101 categories of possibly
        patentable subject matter.


 Diehr, 450 U.S. at 188-189. A characterization of the patent claims that omits limitations or

 steps, or seeks to recast the actual language of the claim, should be rejected for purposes of a §



 17
   H-P agrees with each legal principle presented in this Section and just recently argued them to
 the Northern District of California. See, H-P’s ServiceNow Brief, Ex. H, at pp. 2-5.


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 101 analysis. See, e.g., Ameranth, Inc. v. Genesis Gaming Solutions, Inc., No. SACV 11-00189

 AG, 2014 U.S. Dist. LEXIS 175600, at *16-19 (C.D. Cal. Nov. 12, 2014) (denying summary

 judgment motion under § 101, inter alia, because defendant’s characterization of invention

 omitted claim limitations). Similarly, it is inappropriate to evaluate patent eligibility based on an

 invention’s purported “essence” or “gist.” See Aro Mfg. Co. v. Convertible Top Replacement

 Co., 365 U.S. 336, 345 (1961) (“there is no legally recognizable or protected ‘essential’ element,

 ‘gist’ or ‘heart’ of the invention”). If it were proper to conduct a § 101 analysis based upon a

 simplified distillation or summary of claim language, then virtually no claim would pass muster,

 as “any claim can be stripped down, simplified, generalized, or paraphrased to remove all of its

 concrete limitations, until at its core, something that could be characterized as an abstract idea is

 revealed.” Ultramercial v. Hulu, LLC, 722 F.3d 1335, 1344 (Fed. Cir. 2013), vacated on other

 grounds, 134 S. Ct. 2870 (2014); see also Mayo, 132 S. Ct. at 1293 (“all inventions at some level

 embody, use, reflect, rest upon, or apply laws of nature, natural phenomena, or abstract ideas.”).

                1. The Claims Are Not Directed To An Abstract Idea.

        Defendants’ mischaracterize the asserted claims is and omit vital parts of the claims

 despite case law explicitly rejecting this, Defendants ignore these important claim elements in

 order to portray the claims as simply the process of “the collection and storage of information

 relating to a business process.” Defendants’ Opening Brief, D.I. 116 at 2. But this “abstract

 idea” proposed by Defendants is much broader than the asserted claims. Schutz Decl., Ex. D, at

 ¶37. In fact, none of the asserted claims recites “collection,” “storage,” or “information relating

 to a business process,” as limitations. See, generally, Appendix A. Defendants fail to mention

 that the specifications include thorough descriptions of the various claim elements that are

 present in each independent claim, see, e.g., ’749 Patent at 3:3-4:19. Additionally, the Court has

 construed the independent claims to entail very specific limitations. See, supra, Section III.F and


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 Appendix A; see, also, Claim Construction Order, Ex. C. Below is the text of Defendants’

 alleged representative claim that incorporates the Court’s constructions:


           A computerized method for use in [a computer-based environment in which data
           is transmitted through messages (instead of large files) without prior coordination
           between communication end points], wherein said messaging environment
           comprises at least one [message originating from a business process, sub process,
           or activity carrying information for the execution of a business process, sub
           process ,or activity] comprised of [data from the original message], comprising:

                  [sending, through a messaging broker], a [message distinct from an
                  original message, created by the messaging component of a messaging
                  broker that contains at least part of the original message data, where a
                  messaging broker is communication software that performs at least
                  message transformation and routing based on information in the
                  message], at least part of said original message data to a [database for
                  storing monitoring messages from more than one process, sub-process, or
                  activity];

                  populating a [record in the central message repository, such record being
                  updated as monitoring messages progress through any given process
                  and/or sub-process] in said central message repository with said original
                  message data provided by said monitoring message;

                  wherein said original message data comprises the status of [part of a step
                  of a business operation].

 ‘749 Patent, Claim 1; Claim Construction Order, Ex. C. Even the most cursory review of the

 representative claim reveals that Defendants alleged abstract idea is no more than a decoupled

 summary of the “essence” of the claims. See Ultramercial, 722 F.3d at 1344; Aro Mfg., 365 U.S.

 at 345.

           When viewed properly, all asserted claims require at least an “asynchronous messaging

 environment,” a “monitoring message,” a “messaging broker,” a “central message repository,” a

 “transaction record,” a “process,” “sub process,” or “activity,” an “original message” and

 “original message data,” See Appendix A; ‘749 Patent; ‘674 Patent; Claim Construction Order,




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 Ex. C.18 To be clear, the asserted claims are only directed to a very specific computer

 networking environment: asynchronous message-based communications networks which use a

 message broker as middleware. Schutz Decl., Ex. D, at ¶¶37-53; see, e.g., ‘749, Claim 1; see,

 also, supra, Section III.A. Defendants ignore these limitations.

        Even if the idea proposed by Defendants were an accurate description of the claims, the

 “idea” proposed by Defendants is not an “abstract idea.” The Supreme Court’s judicial

 exceptions to the scope of §101 insure that “fundamental truths,” “the basic tools of scientific

 and technological work,” “the building blocks of human ingenuity,” cannot be patented. Alice,

 134 S. Ct. at 2355. Defendants have made no attempt to show that the idea of “the collection

 and storage of information relating to a business process” is a fundamental truth, or a building

 block of human ingenuity, the patenting of which would pre-empt the use of basic tools of

 scientific and technological work. Id.; see also Helios Software, LLC v. SpectorSoft Corp., Case

 No. 12-cv-081-LPS 2014 WL 4796111 at 17 (D. Del. Sep. 18, 2014) (“SpectorSoft makes no

 effort to show that these ideas are fundamental truths or fundamental principles the patenting of

 which would pre-emp the use of basic tools of scientific and technological work.”)

        Importantly, nothing in Alice suggests that the use of a computer or computer-related

 concepts in a patent claim transforms the subject matter into something abstract and patent

 ineligible.19 Rather, the Alice Court narrowly ruled that “the mere recitation of a generic

 computer cannot transform a patent-ineligible abstract idea into a patent-eligible invention.”

 Alice, 134 S. Ct. at 2358. At the same time, the Court recognized that the use of a computer to

 “improve the functioning of the computer itself” or to “effect an improvement in any other



 18
    Other requirements and limitations are provided by other asserted claims. See, supra, Section
 III.F, fn. 13.
 19
    H-P agrees with this legal principle. See, H-P’s ServiceNow Brief, Ex. H, at p. 3.


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 technology or technical field” is patent eligible subject matter. Id. at 2359; see also Diehr, 450

 U.S. at 187 (“A claim drawn to subject matter otherwise statutory does not become nonstatutory

 simply because it uses a . . . computer program . . . or digital computer.”). The Federal Circuit

 has also found claims to be patent eligible in “cases where, as a practical matter, the use of a

 computer is required to perform the claimed method,” including claims involving “the

 manipulation of computer data structures” or “the output of a modified computer structure”

 where “the method could not, as a practical matter, be performed entirely in a human’s mind.”

 Cybersource Corp. v. Retail Decisions, Inc., 654 F.3d 1366, 1376 (Fed. Cir. 2011) (discussing

 the patent-eligible claims in Research Corp. Techs. v. Microsoft Corp., 627 F.3d 859, 868 (Fed.

 Cir. 2010)); see also DDR Holdings, LLC v. Hotels.com, L.P., No. 2013-1505, 2014 U.S. App.

 LEXIS 22902, at *26 (Fed. Cir. Dec. 5, 2014) (finding claim patent eligible where “the claimed

 solution is necessarily rooted in computer technology in order to overcome a problem

 specifically arising in the realm of computer networks”). “[P]atents should encourage inventors

 to create new computing solutions to today’s computing problems. . . . [I]t at least must be true

 that § 101 protects a unique computing solution that addresses a unique computing problem.”

 Cal. Inst. Of Tech. v. Hughes Commc’ns, Inc., No. 2:13-CV-07245-MRP-JEM, 2014 U.S. Dist.

 LEXIS 156763, at *62 (C.D. Cal. Nov. 3, 2014).

        Although message brokers existed, message brokers were far from being “conventional

 and generic technology.” Schutz Decl., Ex. D at ¶¶54-78; supra, Section III.A; see, also Cal.

 Inst. Tech. v. Hughes Comm., Inc., 2014 WL 5661290, at *3 (“a claim element is not

 conventional just because it appears in prior art”). In fact, in the very late 1990s and early 2000s,

 YYZ’s expert, Mr. Schutz, and Defendants’ expert, Mr. Linthicum, agree that message brokers

 were a very “new technology” that was just beginning to be used to integrate enterprise




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 application systems. Schutz Decl., Ex. D, at ¶55.   Despite offering “real promise,” message

 brokers had a “lack of standardization” and functionality, including a lack of management layer

 tools resulting in an absence of the “ability to monitor message movement through the system.”

 Linthicum I, Ex. E, at pp. 10, 21, 120, 293, 309, 316; Linthicum II, Ex. F at pp. 128, 146, 233,

 234, 248-249, 257; Schutz Decl., Ex. D at ¶78. This was a problem in this very specific

 computer networking environment where the patents exist. Schutz Decl., Ex. D, at ¶¶47-50

        This inability to monitor message movement was referred to as the “Where’s My

 Message?” problem. ‘749 Patent at 2:6-9; Schutz Decl., Ex. D, at ¶50. The Patents-in-Suit

 provide novel solution to the “Where's My Message” problem by creating, through the custom

 developed messaging component, and sending, through a message broker, “a separate

 monitoring message containing data . . . [which] may include date, time, customer number,

 materials, quantity, amount or other information and be copied from the original message.” '749

 Patent at 3:6-14; Fig. 2; Schutz Decl., Ex. D, at ¶61. The Patents-in-Suit provided a significant

 advantage over other solutions because it offered a solution from a technical and business

 perspective, not just a technical perspective—in other words, it provided an “end to end” view of

 the message flow. Schutz Decl., Ex. D, at ¶¶59-60. These were novel concepts at the time.

 Schutz Decl., Ex. D, at ¶¶67-68.

        Alice also does not hold or suggest that a claim is abstract if the process can be

 performed by a human.20 If Defendants’ position were adopted by this Court, their own cited

 patent covering “carbon copy” technology would be patent ineligible because a person could

 simply copy the original document by hand in order to create a copy. See U.S. Patent No.

 2,307,036, attached to Defendants’ Motion, at Ex. F. As one court has observed, even the cotton

 20
   As of a short time ago, H-P agreed with this legal principle. See, H-P’s ServiceNow Brief, Ex.
 H, at p. 4.


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 gin would not be patentable under this test. Ameranth, 2014 U.S. Dist. LEXIS 7012391, at *19

 (“[A]utomation of manual tasks is not necessarily abstract. U.S. Patent No. 72 (1794) to Eli

 Whitney for a cotton gin is one familiar example of a solidly tangible automating machine.”).

 Thus, a bald proclamation that a process can be done by a human does not render a claim

 abstract.

         Contrary to Defendants’ arguments, the patent claims cannot be performed entirely by

 humans. With the exception of business “process,” “sub process,” or “activity,” the claim

 elements only have meaning within a computer. For example, human cannot operate in an

 asynchronous messaging environment, which has been construed to mean “[a] computer-based

 environment in which data is transmitted through messages (instead of large files) without prior

 coordination between communication end points.” Claim Construction Order, Ex. C, at 2;

 Schutz Decl., Ex. D, at ¶91. Nor can a human cannot operate in the “asynchronous messaging

 environment” of the Patents-in-Suit as construed by the Court. Schutz Decl., Ex. D, at ¶91.

 Another example is a “monitoring message,” which means “[a] message distinct from an original

 message, created by the messaging component of a messaging broker that contains at least part

 of the original message data, where a messaging broker is communication software that performs

 at least message transformation and routing based on information in the message." Schutz Decl.,

 Ex. D, at ¶91. Messaging broker is communication software that must run in a computer

 network environment, and as such, a human cannot operate as a “messaging broker” as construed

 by the Court. Schutz Decl., Ex. D, at ¶91. These limitations, coupled with the requirements of a

 “monitoring message,” “transaction record,” and “central message repository” would prohibit a

 human from accomplishing the teachings of the Patents-in-Suit. Schutz Decl., Ex. D, at ¶91.

 The fact that there may be an analogue to the inventions of the Patents-in-Suit in the human




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 world does not render the asserted claims abstract. Ameranth, 2014 U.S. Dist. LEXIS 7012391,

 at *19 (“[A]utomation of manual tasks is not necessarily abstract.”). Thus, Defendants

 presentation of a hypothetical “intra-office mail” scenario is unpersuasive.

           Nor does Alice hold or suggest that computer inventions are unpatentable if they

 involve mental steps that can be performed by a person using pen and paper.21 Indeed, for

 computer inventions such as the patents-in-suit, “this mode of analysis” is simply “unhelpful,” if

 not outright misleading:

           Many inventions could be theorized with pencil and paper, but pencil and paper
           can rarely produce the actual effect of the invention. Likewise, with regard to
           software, a human could spend months or years writing on paper the 1s and 0s
           comprising a computer program and applying the same algorithms as the
           program. At the end of the effort, he would be left with a lot of paper that
           obviously would not produce the same result as the software. The problems of
           pencil-and-paper analysis are heightened in the context of software, which
           necessarily uses algorithms to achieve its goals. Pencil-and-paper analysis can
           mislead courts into ignoring a key fact: although a computer performs the same
           math as a human, a human cannot always achieve the same results as a computer.

 Cal. Inst. of Tech., 2014 U.S. Dist. LEXIS 156763, at *49-50. Accordingly, H-P’s arguments

 that many of the limitations of the claims can be performed by the human mind or with pen and

 paper are unavailing. Defendants’ Opening Brief, D.I. 116 at 14-17. A human being has many

 ways to collect and store data relating to a business process using only his mind, or even pencil

 and paper. Schutz Decl., Ex. D, at ¶91. However, each asserted claim is firmly grounded in

 particular technology choices and fixed problems that existed in the art with respect to those

 technologies in innovative ways. Schutz Decl., Ex. D, at ¶¶59-60, 67-68. A human being cannot

 perform any of the methods of the asserted claims solely in their mind, or even with pencil and

 paper. Schutz Decl., Ex. D, at ¶91. Each asserted claim recites a “computerized method for use



 21
      H-P agreed with this legal principle very recently. See, H-P’s ServiceNow Brief, Ex. H, at pp.
 4.


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 in an asynchronous messaging environment.” Schutz Decl., Ex. D, at ¶91. A human being

 using pencil and paper cannot function in a computerized asynchronous messaging environment.

 Schutz Decl., Ex. D, at ¶91. Nor could a human being using pencil and paper implement the

 specific, concrete solution of the asserted claims. Schutz Decl., Ex. D, at ¶91. A human being

 could not cause a “messaging component” of a “message broker” to create a “monitoring

 message” that is sent through the message broker to a “central message repository” where it is

 stored in a “transaction record.” Schutz Decl., Ex. D, at ¶91.

                2. The Patents Claim Inventive Concepts.

        The Patents-in-Suit are directed to inventive concepts necessarily rooted in computer

 technology. See, supra, Section III.D. The asserted claims have independently innovative

 components and are an innovative ordered combination. The Patents provide a technology

 solution to the “Where's My Message” problem. See, supra, Section III.D. This is a problem

 that existed in asynchronous message based networking environments where a message broker

 was used. See, supra, Section III.D. The problem was addressed by creating, through the

 custom developed messaging component, and sending, to a central message repository through a

 message broker, a separate monitoring message containing data which may have include date,

 time, customer number, materials, quantity, amount or other information and be copied from the

 original message” '749 Patent at 3:6-14; Fig. 2; Schutz Decl., Ex. D, at ¶61; see, also, supra,

 Section III.D. This monitoring message, which was created by the messaging component of a

 messaging broker, is provided by the message broker to the central message repository in the

 claims. Schutz Decl., Ex. D, at ¶65. To accomplish this, the inventors created a custom

 component that was created by the inventors and then imported and used within MQSeries

 Integrator. Schutz Decl., Ex. D, at ¶65. This type of custom software coding was often referred

 to as creating a software “plug-in.” Schutz Decl., Ex. D, at ¶65. This was an innovative and


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 novel approach to solving the “Where’s my message?” problem. Schutz Decl., Ex. D, at ¶70-

 75; see, also, supra, Section III.D.

        Similarly, the inventors of the Patents-in-Suit created a “central message repository” that

 is updated as "monitoring messages progress through any given process and/or sub-process."

 Schutz Decl., Ex. D, at ¶65. This “central message repository” contains a transaction record

 which is populated by the monitoring message, which is sent from the messaging broker (after it

 is created by the messaging component) to the “central message repository.” ‘749 Patent at 4:56-

 57; Schutz Decl., Ex. D, at ¶66. The Patents-in-Suit specify that “[a]s monitoring messages

 progress through any given process and/or subprocess, the transaction record is updated.” ‘749

 Patent at 4:56-59. In Mr. Shutz opinions, the central repository of the Patents-in-Suit, which

 store monitoring messages created by the messaging component of a messaging broker and that

 stores the data from those messages in a transaction record, was also innovative and did not exist

 as of the priority date of the Patents-in-Suit. Schutz Decl., Ex. D, at ¶¶65, 78-84. In sum, the

 solution of the asserted claims requires the creation of a “messaging component” within the

 message broker. Schutz Decl., Ex. D, at ¶73. This messaging component creates the monitoring

 message, and sends it to the central message repository (via the message broker), where it is

 stored in a transaction record. Schutz Decl., Ex. D, at ¶73. In Mr. Shutz’s opinion, this was a

 creative and useful improvement on the state of the art at the time. Schutz Decl., Ex. D, at ¶73.

                3. The Claims of the Patents Do Not Preempt the Alleged Abstract Idea

        A significant concern underlying § 101 is preemption. Alice, 134 S. Ct. at 2354.

 However, a court “must be wary about overstating this concern” given that “[b]y definition,

 every patent preempts an area of technology.” Cal. Inst. of Tech., 2014 U.S. Dist. LEXIS

 156763, at *37. “[W]e must be wary of facile arguments that a patent preempts all applications



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 of an idea. It may often be easier for an infringer to argue that a patent fails § 101 than to figure

 out a different way to implement an idea, especially a way that is less complicated . . . .” McRo,

 Inc. v. Sega of Am., Inc., No. CV 12-10327-GW, 2014 U.S. Dist. LEXIS 135267, at *19 (C.D.

 Cal. Sept. 22, 2014) (internal citations and quotations omitted). “[I]nventions with specific

 applications or improvements to technologies in the marketplace are not likely to be so abstract

 that they override the statutory language and framework of the Patent Act.” Research Corp., 627

 F.3d at 869. Therefore, where patent claims are directed to a particular technological

 improvement in a particular field, and do not attempt to cover the field itself, there is no risk of

 preemption. See, e.g., DDR Holdings, 2014 U.S. App. LEXIS 22902, at *14 (“[T]he claims at

 issue do not attempt to preempt every application of the idea of increasing sales by making two

 web pages look the same, or of any other variant suggested by NLG. Rather, they recite a

 specific way to automate the creation of a composite web page . . . .”); Intellectual Ventures I

 LLC v. Mfrs. & Traders Trust Co., Civ. No. 13-1274-SLR , 2014 U.S. Dist. LEXIS 174725, at

 *25 (D. Del. Dec. 18, 2014) (“The claims do not preempt all applications of providing

 customized web pages, as they recite a specific method of customizing web pages . . . .”);

 Fairfield Indus. v. Wireless Seismic, Inc., No. 14-CV-2972, 2014 U.S. Dist. LEXIS 176599, at

 *15 (S.D. Tex. Dec. 23, 2014) (“Although the claim rests upon the idea of a relay system, the

 claim builds upon this concept by adding nonconventional elements, such as the assignment of

 different transmission parameters to avoid jumbled communication. These additional elements

 narrow the scope of the claim, and minimize the risk of preemption.”).

        The inventions of the Patents-in-Suit are similar in nature to those in DDR Holdings. The

 inventions of the Patents-in-Suit use a very specific set of technologies and invented a specific

 set of solutions to the problems in that technology environment, and thus, could not possibly




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 preempt the alleged abstract idea. At the outset, there were a broad set of options for the

 architecture of such a system as described in the Patents-in-Suit, including several options for the

 (1) data transfer technology, (2) the communication network technology, and (3) the middleware

 technology.   Schutz Decl., Ex. D, at ¶38.        First, from the available set of data transfer

 technologies, the inventors chose, and claims of the patents-in-suit are only directed to, message-

 based systems. Schutz Decl., Ex. D, at ¶38-40; see also, e.g., ‘749, Claim 1; Claim Construction

 Order, Ex. C, at 2 (construction for “asynchronous messaging environment”); see, also, supra,

 Section II.A. Second, the inventors were working in a specific communication network. From

 the set of available communication network technology, which included asynchronous or

 synchronous network technologies, the inventors chose to provide a solution for problems

 asynchronous message-based communications networks.             Schutz Decl., Ex. D, at ¶¶40-46.

 Schutz Decl., Ex. D, at ¶47; see also, e.g., ‘749, Claim 1; Claim Construction Order, Ex. C, at 2

 (construction for “asynchronous messaging environment”); see, also, supra, Section II.A. Third,

 the inventors had to choose the type of middleware technology to use in the system. Schutz

 Decl., Ex. D, at ¶¶51-52. Of the at least five different technologies that existed at the time, the

 inventors chose to use message brokers to solve the salient problems. Schutz Decl., Ex. D, at

 ¶¶52-53. In the end, the claims of the patents-in-suit are only directed to asynchronous message-

 based communications networks which use a message broker as middleware. Schutz Decl., Ex.

 D; see, also, supra, Section II.A. Given the myriad of choices available to the inventors, they

 chose to solve a set of problems existing in a very communication networking environment.

        The asserted claims do not block the public from practicing a large number of

 communication and enterprise management technologies, which were widely known to be used

 for “the collection and storage of information relating to a business process” by those skilled in




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 the art. Schutz Decl., Ex. D, at ¶¶85-86. For example, the asserted claims do not prevent

 anyone from using synchronous communication technologies, FTP systems, point-to-point

 systems without a message broker, Transaction Processing Monitors, applications servers lacking

 a message broker, and even message brokers themselves (as long as they do not have the

 “messaging component” and “central message repository” of the asserted claims) for “the

 collection and storage of information relating to a business process”. Schutz Decl., Ex. D, at

 ¶¶86-91; see, supra, Section III, A and E. According, using the technologies in the ways

 described above in Sections III. E, there are hundreds of ways that the technologies available in

 2000 could have been used for “the collection and storage of information relating to a business

 process” without practicing the claimed inventions. Schutz Decl., Ex. D, at ¶91. Thus, the very

 specific use of the technologies specified in the claims does not monopolize an alleged abstract

 idea described as “the collection and storage of information relating to a business process.”

 Schutz Decl., Ex. D, at ¶91.

        D. The Factual Issues Underlying Defendants’ Motion Are Disputed, Precluding
           Summary Judgment.

        The Federal Circuit has recently emphasized that “the analysis under § 101, while

 ultimately a legal determination, is rife with underlying factual issues.” Ultramercial, 722 F.3d at

 1339 (emphasis added). The Federal Circuit has identified many reasons the § 101 inquiry is

 inherently fact specific:

        [T]here is no doubt the § 101 inquiry requires a search for limitations in the
        claims that narrow or tie the claims to specific applications of an otherwise
        abstract concept. Further, factual issues may underlie determining whether the
        patent embraces a scientific principle or abstract idea. If the question is whether
        “genuine human contribution” is required, and that requires “more than a
        trivial appendix to the underlying abstract idea,” and were not at the time of
        filing “routine, well-understood, or conventional,” factual inquiries likely
        abound.      Almost by definition, analyzing whether something was


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        “conventional” or “routine” involves analyzing facts. Likewise, any inquiry into
        the scope of preemption – how much of the field is “tied up” by the claim – by
        definition will involve historic facts: identifying the “field,” the available
        alternatives, and preemptive impact of the claims in that field.

 Id. (internal citations omitted) (emphasis added).

        Here, Defendants’ support their § 101 analysis with attorney argument alone, which itself

 is inadmissible evidence and does not satisfy Defendants’ burden at summary judgment of

 demonstrating “such clear and convincing evidence of facts underlying invalidity that no

 reasonable jury could find otherwise.” SRAM Corp. v. ADII Eng’g, Inc., 465 F.3d 1351, 1357

 (Fed. Cir. 2006). “Unsubstantiated attorney argument regarding the meaning of technical

 evidence is no substitute for competent, substantiated expert testimony. It does not, and cannot,

 support [a party’s] burden on summary judgment.” Invitrogen Corp. v. Clontech Labs., Inc., 429

 F.3d 1052, 1068 (Fed. Cir. 2005); see also Enzo Biochem, Inc. v. Gen-Probe, Inc., 424 F.3d

 1276, 1284 (Fed. Cir. 2005) (“Attorney argument is no substitute for evidence.”).

        Even if Defendants had supported their attorney arguments with competent expert

 evidence, the underlying factual issues are disputed by YYZ’s expert, thereby making summary

 judgment of invalidity under § 101 inappropriate. See Fr. Telecom S.A. v. Marvell

 Semiconductor Inc., No. 12-CV-04967-WHO, 2014 U.S. Dist. LEXIS 52564, at *40 (N.D. Cal.

 Apr. 14, 2014) (where one party’s expert was “directly controverted” by the other, “[t]his is a

 material issue of fact sufficient to defeat summary judgment” of patent invalidity under § 101);

 TQP Dev., LLC v. Intuit Inc., No. 12-CV-180, 2014 U.S. Dist. LEXIS 20077, at *17-18 (E.D.

 Tex. Feb. 19, 2014) (“While the defendants assert that the encryption and decryption process can

 be performed in the human mind or with pencil and paper, TQP has offered evidence to the




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 contrary, in the form of an expert’s declaration. . . . That factual dispute by itself is enough to

 foreclose the entry of summary judgment in the defendants’ favor on the present record.”).

        The law relevant to summary judgment is well settled. “The court shall grant summary

 judgment if the movant shows that there is no genuine dispute as to any material fact and the

 movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). The moving party

 bears the burden of demonstrating the absence of a genuine issue of material fact. Matsushita

 Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586 n.10 (1986). A party asserting that a

 fact cannot be—or, alternatively, is—genuinely disputed must support the assertion either by

 citing to “particular parts of materials in the record, including depositions, documents,

 electronically stored information, affidavits or declarations, stipulations (including those made

 for the purposes of the motions only), admissions, interrogatory answers, or other materials,” or

 by “showing that the materials cited do not establish the absence or presence of a genuine

 dispute, or that an adverse party cannot produce admissible evidence to support the fact.” Fed. R.

 Civ. P. 56(c)(1)(A) & (B). Only if the moving party has carried its burden must the nonmovant

 then “come forward with specific facts showing that there is a genuine issue for trial.”

 Matsushita, 475 U.S. at 587 (internal quotation marks omitted).

        Assuming such facts have been presented, the record and all factual inferences therefrom

 must be viewed in the light most favorable to the non-moving party, and the Court must decide

 whether “‘the evidence presents a sufficient disagreement to require submission to a jury or

 whether it is so one-sided that one party must prevail as a matter of law.’” Allen v. Tyson Foods,

 Inc., 121 F.3d 642, 646 (11th Cir.1997) (quoting Anderson, 477 U.S. at 251–52, 106 S.Ct. 2505).

 “[C]redibility determinations, the weighing of evidence, and the drawing of legitimate inferences

 from the facts are jury functions, not those of a judge.” Anderson, 477 U.S. at 255, 106 S.Ct.




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 2505.” Powell v. Carey Intern., Inc., 490 F.Supp.2d 1202, 1208 (S.D. Fla. Mar. 17, 2006); see

 also Reeves v. Sanderson Plumbing Prods., Inc., 530 U.S. 133, 150 (2000). Although the “mere

 existence of some alleged factual dispute between the parties will not defeat an otherwise

 properly supported motion for summary judgment,” a factual dispute is genuine where “the

 evidence is such that a reasonable jury could return a verdict for the nonmoving party.” Anderson

 v. Liberty Lobby, Inc., 477 U.S. 242, 247-248 (1986).

    V.      CONCLUSION

         For the aforementioned reasons, the Court should deny Defendants’ motion for summary

 judgment that the asserted claims Patents-in-Suit are invalid under §101 and grant YYZ’s cross-

 motion for summary judgment that the asserted claims of the Patent-in-Suit are not invalid under

 §101.




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 Date: February 27, 2015      Respectfully submitted,

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